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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                   CIVIL MINUTES – GENERAL

Case No. 2:20-cv-06236 JLS (MAA)                                              Date: November 1, 2021
Title       Bryan Perez v. Kilolo Kijakazi (substituted as the Defendant pursuant to Federal
                                             Rule of Civil Procedure 25(d))


Present:    The Honorable Maria A. Audero, United States Magistrate Judge


                   James Muñoz                                              N/A
                   Deputy Clerk                                    Court Reporter / Recorder

           Attorneys Present for Plaintiff:                    Attorneys Present for Defendant:
                   None present                                         None present


Proceedings: (In Chambers) ORDER TO SHOW CAUSE

        On July 14, 2020, Plaintiff Bryan Perez initiated this action for review of a final decision of
the Commissioner of Social Security denying an application for disability benefits (“Complaint”).
(ECF No. 1.) On July 16, 2020, this Court granted Plaintiff’s request to proceed in forma pauperis.
(ECF No. 5.) Also on July 16, 2020, the Court issued the Initial Case Management Order in the
matter (“CMO”). (CMO, ECF No. 6.) The CMO advised Plaintiff that, pursuant to Order of the
Chief Judge No. 20-74, the case was stayed. (CMO 1–2.) The CMO explained that, despite the stay,
Plaintiff could serve the government with the summons and complaint. (Id.) It also explained that
the stay would remain in place until the Commissioner of Social Security either (a) filed a proof of
service showing service of the Certified Administrative Record (“CAR”) on Plaintiff; or (b) filed the
CAR directly with the District Court. (Id. at 2.) A summons issued on August 4, 2020.

        On April 15, 2021, the stay was lifted pursuant to Order of the Chief Judge No. 21-37. To
date, Plaintiff has not filed a proof of service indicating that he served the government with the
summons and complaint.

        On this basis, the Court ORDERS Mr. Perez to show cause by no later than December 1,
2021 why this action should not be dismissed without prejudice for his failure to prosecute and/or
failure to comply with a court order pursuant to Federal Rule of Civil Procedure 41(b).

       Alternatively, Plaintiff may voluntarily dismiss this action without prejudice pursuant to
Federal Rule of Civil Procedure 41(a)(1). The Clerk is directed to attach Form CV-09 (Notice of
Dismissal Pursuant to Federal Rules of Civil Procedure 41(a) or (c)) to this Order.



CV-90 (03/15)                            Civil Minutes – General                               Page 1 of 2
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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA

                                  CIVIL MINUTES – GENERAL

Case No. 2:20-cv-06236 JLS (MAA)                                                        Date: November 1, 2021
Title       Bryan Perez v. Kilolo Kijakazi (substituted as the Defendant pursuant to Federal
                                             Rule of Civil Procedure 25(d))


       Plaintiff is expressly cautioned that failure to comply with this Order may result in a
dismissal of the Complaint without prejudice for failure to prosecute and/or failure to comply
with a court order pursuant to Federal Rule of Civil Procedure 41(b).

        It is so ordered.

Attachment:
Form CV-09 (Notice of Dismissal Pursuant to Federal Rules of Civil Procedure 41(a) or (c))




                                                                                                     :

                                                                 Initials of Preparer          JM




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